     Case 1:19-mj-00205-JFA Document 26 Filed 01/02/20 Page 1 of 1 PageID# 54




                                 UNITED STATES DISTRICT COURT

                                                     FOR


                              THE EASTERN DISTRICT OF VIRGINIA



                                                   SEALED


 U.S.A. vs. Jennifer G. Hernandez                                                  Docket No. 1;19MJ205
                                               Addendum to
                              Petition for Action on Conditions of Release
                                        dated December 17,2019

As ofthis writing, the warrant issued on December 17, 2019 remains active and sealed.

CONDITION OF RELEASE 3:                DO NOT PHYSICALLY APPEAR AT CIA BUILDINGS OR
                                       PROPERTY.

On December 23, 2019, the U.S Attorney's Ofllce advised the defendant reported to CIA Headquarters
on that same date. As officers were able to convince the defendant to leave the premsis, she did not receive
new criminal charges. However,the defendant did receive another written warning directing her to remain
off all CIA property.

BE/smk




             ORDER OF COURT                          I declare under penalty of perjury that the
                                                     foregoing is true and correct.
 Considered and ordered this ^               day
of^Ji^^yt»                       that the petition   Executed on:
previously issued be amended and that this
addendum be ordered filed and made part of                                    Bethany Erding
                                                                              2020.01.02 15:21:43 -OS'OO'
the record in the        case.

    John F, Anderson                                 Bethany Erding
    United States (Magistrate Judge                  Senior U.S. Probation Officer
                                                     (703)299-2305
John F. Anderson
U.S. Magistrate Judge                                Place: Alexandria. Virginia
